                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF IOWA
                                 EASTERN DIVISION

 UNITED STATES OF AMERICA,
                  Plaintiff,                                      No. 12-CR-2024-LRR
 vs.                                                                      ORDER
 FRANK NELSON,
                  Defendant.
                                      ____________________

                                      TABLE OF CONTENTS
I.       INTRODUCTION . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 1
II.      PROCEDURAL HISTORY . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 2
III.     RELEVANT FACTUAL BACKGROUND . . . . . . . . . . . . . . . . . . . . . . . 3
IV.      STANDARD OF REVIEW . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 3
V.       ANALYSIS . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 4
         A.      Sufficiency of Warnings . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 4
                 1.     Defendant’s arguments . . . . . . . . . . . . . . . . . . . . . . . . . . 4
                 2.     Applicable law . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 5
                 3.     Discussion . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 7
         B.      Waiver of Rights . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 9
                 1.     Defendant’s arguments . . . . . . . . . . . . . . . . . . . . . . . . . . 9
                 2.     Applicable law . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 9
                 3.     Discussion . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 10
VI.      CONCLUSION . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 11
                                        I. INTRODUCTION
         The matter before the court is Defendant Frank Nelson’s Objections (docket no.
198) to United States Magistrate Judge Jon S. Scoles’s Report and Recommendation
(docket no. 188), which recommends that the court deny Defendant’s “Motion to


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      Case 6:12-cr-02024-CJW-MAR             Document 336         Filed 05/07/13       Page 1 of 11
Suppress” (“Motion”) (docket no. 159) and “Amended Motion to Suppress” (“Amended
Motion”) (docket no. 167).
                             II. PROCEDURAL HISTORY
      On August 22, 2012, the government filed an Indictment (docket no. 15) against
Defendant and thirteen others.    Count 1 of the Indictment charges Defendant with
conspiring to distribute one kilogram or more of a mixture or substance containing a
detectable amount of heroin in violation of 21 U.S.C. §§ 841(a)(1), 841(b)(1)(A) and 846.
      On February 4, 2013, Defendant filed the Motion, in which he argues that he did
not voluntarily, knowingly and intelligently waive his Miranda1 rights on September 5,
2012, because he was under the influence of heroin and, therefore, the court should
suppress the statements he made on that date. On February 15, 2013, the government filed
a Resistance (docket no. 164). On February 19, 2013, Judge Scoles held a hearing on the
Motion. See Minute Entry (docket no. 166). Defendant appeared in court with his
attorney, Mark C. Meyer. Assistant United States Attorney Lisa C. Williams represented
the government. On that same date, Defendant filed the Amended Motion, in which he
argues that Drug Enforcement Agency Task Force Officer (“TFO”) Bryan Furman failed
to sufficiently notify Defendant of his Miranda rights on September 5, 2012, and,
therefore, the court should suppress Defendant’s September 5, 2012 statements. Also on
February 19, 2013, the government filed a Supplemental Brief (docket no. 168) regarding
the Amended Motion, to which Defendant filed a Reply (docket no. 169). On February
22, 2013, Judge Scoles issued the Report and Recommendation, which recommends that
the court deny the Motion and the Amended Motion. On February 25, 2013, Defendant
filed his Objections. The matter is fully submitted and ready for decision.




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          Miranda v. Arizona, 384 U.S. 436 (1966).

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  Case 6:12-cr-02024-CJW-MAR         Document 336      Filed 05/07/13    Page 2 of 11
                    III. RELEVANT FACTUAL BACKGROUND2
       On September 5, 2012, Defendant was arrested on Count 1 of the Indictment and
transported to the Black Hawk County Jail. There, TFO Furman questioned Defendant.
The seventeen-minute interview was audio recorded. At the beginning of the interview,
TFO Furman advised Defendant of his Miranda rights, stating:
              Are you familiar with your rights? You have the right to
              remain silent. Anything you say can and will be used against
              you. You have a right to an attorney. If you can’t afford one,
              the court will give you one. And if we start talking you can
              stop talking at any time.
Report and Recommendation at 3. Before beginning the questioning, TFO Furman stated,
“Okay, we can start, and if you want to stop at any time, that’s up to you. Sound good?”
Id. at 4. TFO Furman then proceeded to ask Defendant questions, which Defendant
answered. During the interview, Defendant admitted to using two to three bags of heroin
a day and that he had used heroin that morning. On the audio recording, Defendant’s
speech is often quiet, mumbled and difficult to understand. TFO Furman testified that
Defendant maintained eye contact throughout the conversation, made nonverbal cues that
he understood the questions and responded to the questioning.
                            IV. STANDARD OF REVIEW
       When a party files a timely objection to a magistrate judge’s report and
recommendation, “[a] judge of the court shall make a de novo determination of those
portions of the report or specified proposed findings or recommendations to which
objection is made.” 28 U.S.C. § 636(b)(1); see also Fed. R. Crim. P. 59(b)(3) (“The



       2
         In his Objections, Defendant contends that Judge Scoles failed to include relevant
facts in the Report and Recommendation. After listening to the audio recording of the
September 5, 2012 interview and reviewing the transcript of the February 19, 2013
hearing, the court adopts the factual summary in the Report and Recommendation. The
court shall provide only a brief overview here.

                                            3


  Case 6:12-cr-02024-CJW-MAR          Document 336      Filed 05/07/13    Page 3 of 11
district judge must consider de novo any objection to the magistrate judge’s
recommendation.”); United States v. Lothridge, 324 F.3d 599, 600 (8th Cir. 2003). “A
judge of the court may accept, reject, or modify, in whole or in part, the findings or
recommendations made by the magistrate judge.” 28 U.S.C. § 636(b)(1); see also Fed.
R. Crim. P. 59(b)(3) (“The district judge may accept, reject, or modify the
recommendation, receive further evidence, or resubmit the matter to the magistrate judge
with instructions.”). It is reversible error for a district court to fail to engage in a de novo
review of a magistrate judge’s report when such review is required. Lothridge, 324 F.3d
at 600.     Accordingly, the court reviews the disputed portions of the Report and
Recommendation de novo.
                                       V. ANALYSIS
       Defendant objects to Judge Scoles’s finding that TFO Furman’s warnings to
Defendant satisfied Miranda. Defendant also objects to Judge Scoles’s finding that
Defendant voluntarily, knowingly and intelligently waived his Miranda rights prior to
making statements to law enforcement. Having conducted the required de novo review of
the objected-to portions of the Report and Recommendation, the court deems it appropriate
to overrule Defendant’s Objections and adopt the Report and Recommendation for the
reasons discussed below.
                                A. Sufficiency of Warnings
       1.     Defendant’s arguments
       Defendant first objects to Judge Scoles’s finding that TFO Furman adequately
advised Defendant of his Miranda rights. Defendant argues that under Miranda, a law
enforcement officer must explicitly advise a defendant of his or her right to the presence
of an attorney before and during interrogation and, thus, TFO Furman’s general warning
of the right to an attorney is inadequate. Defendant acknowledges that, in United States
v. Caldwell, 954 F.2d 496 (8th Cir. 1992), the Eighth Circuit Court of Appeals held that


                                               4


   Case 6:12-cr-02024-CJW-MAR           Document 336        Filed 05/07/13     Page 4 of 11
a warning nearly identical to the warning TFO Furman gave did not amount to plain error.
However, Defendant asserts that Caldwell is not controlling because the Eighth Circuit
decided Caldwell under a plain error standard of review. Furthermore, Defendant asserts
that the United States Supreme Court’s ruling in Florida v. Powell, 559 U.S. 50, 130 S.
Ct. 1195 (2010), calls into question the Eighth Circuit’s holding in Caldwell because
Powell’s “insistence that an individual be clearly informed that he has [the] right to consult
with a lawyer, ‘and [to] have the lawyer with him during interrogation,’ at a minimum
suggests that Caldwell must be limited to its facts.” Brief in Support of Amended Motion
(docket no. 167-1) at 2 (quoting Powell, 559 U.S. at ___, 130 S.Ct. 1203).
       2.     Applicable law
       In Miranda, the Supreme Court held that when a defendant is taken into custody,
“[p]rior to any questioning, [the defendant] must be warned that he has a right to remain
silent, that any statement he does make may be used as evidence against him, and that he
has a right to the presence of an attorney, either retained or appointed.” 384 U.S. at 444.
However, the Supreme Court “has never indicated that the ‘rigidity’ of Miranda extends
to the precise formulation of the warnings given a criminal defendant.” California v.
Prysock, 453 U.S. 355, 359 (1981) (citing United States v. Lamia, 429 F.2d 373, 375-76
(2d Cir. 1970)). “Miranda itself indicated that no talismanic incantation was required to
satisfy its strictures.” Id. Rather, Miranda is satisfied if the “warnings reasonably
‘convey to a suspect his rights as required by Miranda.’” Powell, 559 U.S. at ___, 130
S. Ct. at 1204 (alterations omitted) (quoting Duckworth v. Eagan, 492 U.S. 195, 203
(1989)).
       The Eighth Circuit “has not strictly required that a defendant be explicitly advised
of his right to an attorney before and during questioning.” Caldwell, 954 F.2d at 502
(emphasis added) (noting a circuit split on this issue). In Caldwell, the defendant argued
that the general warning that he had the right to an attorney was inadequate because it


                                              5


  Case 6:12-cr-02024-CJW-MAR           Document 336       Filed 05/07/13     Page 5 of 11
“failed to specifically warn him of his right to counsel before and during the
interrogation.” Id. Because the defendant failed to properly preserve this argument for
appeal, the Eighth Circuit decided the issue under a plain error standard of review. Id. at
500. In arriving at its decision, the Eighth Circuit analyzed Supreme Court precedent and
found Caldwell distinguishable: “the warning in this case does not suffer from the
inadequacy discussed in both Duckworth and Prysock, namely, linking the right to
appointed counsel to a future point in time after interrogation.” Id. at 502. The Eighth
Circuit held that “the warning provided does not rise to the level of plain error” and cited
several supporting cases from other circuits, including Lamia. Id. at 503.
       The Second, Third, Fourth and Seventh Circuit Courts of Appeals have reached
similar conclusions. See United States v. Warren, 642 F.3d 182, 185 (3d Cir. 2011)
(holding that a general warning of the right to an attorney, without an express warning of
the right to the presence of an attorney during the interrogation, satisfied Miranda); United
States v. Frankson, 83 F.3d 79, 82 (4th Cir. 1996) (holding that the statement, “‘[y]ou
have the right to an attorney’ . . . communicated to [the defendant] that his right to an
attorney began immediately and continued forward in time without qualification”) (first
alteration in original); United States v. Adams, 484 F.2d 357, 361-62 (7th Cir. 1973)
(holding that an officer’s warnings that the defendant had “‘the right to remain silent, right
to counsel, and if [he did not have] funds to have counsel, that the court will see that [he
was] properly defended’” satisfied Miranda); Lamia, 429 F.2d at (holding that a general
warning of the right to an attorney adequately conveyed the defendant’s Miranda rights).
       For instance, in Lamia, law enforcement officials advised the defendant that “‘he
need not make any statement to [the officials] at that time, that any statement he would
make could be used against him in court; he had a right to an attorney, if he wasn’t able
to afford an attorney, an attorney would be appointed by the court.’” 429 F.2d at 374-75.
The defendant argued that the warning failed to inform him of his right to the presence of


                                              6


  Case 6:12-cr-02024-CJW-MAR           Document 336       Filed 05/07/13     Page 6 of 11
an attorney. Id. at 376. The Second Circuit held:
              [The defendant] had been told without qualification that he had
              the right to an attorney and that one would be appointed if he
              could not afford one. Viewing this statement in context, [the
              defendant] having just been informed that he did not have to
              make any statement to the agents . . . , [the defendant] was
              effectively warned that he need not make any statement until
              he had the advice of an attorney.
Id. at 376-77. Hence, the Second Circuit found that “the substance of the required
warnings was given.” Id. at 377.
       Similarly, in Warren, the Third Circuit held that an unqualified warning of the right
to an attorney, without an express warning of the right to the presence of an attorney
during the interrogation, satisfied Miranda. 642 F.3d at 186-87. The Third Circuit found
that “it cannot be said that the Miranda court regarded an express reference to the temporal
durability of [the right to an attorney] as elemental to a valid warning.” Id. at 185.
       3.     Discussion
       After conducting a de novo review, the court agrees with Judge Scoles’s finding that
TFO Furman’s warnings sufficiently conveyed Defendant’s Miranda rights. Defendant
argues that a general warning of the right to an attorney, without any reference to when
a defendant may exercise such right, does not reasonably convey the rights enumerated in
Miranda. However, the Eighth Circuit has considered this issue and stated that “[the
Eighth Circuit] has not strictly required that a defendant be explicitly advised of his right
to an attorney before and during questioning.” Caldwell, 954 F.2d at 502. Regardless of
whether Caldwell controls in light of the fact that the Eighth Circuit used a plain error
standard of review, the court finds the Eighth Circuit’s analysis instructive.
       In addition, contrary to Defendant’s assertions, the court finds that Powell does not
apply to the facts of this case. In Powell, law enforcement officials told the defendant that
he had “‘the right to talk to a lawyer before answering any of [their] questions.’” Powell,


                                             7


  Case 6:12-cr-02024-CJW-MAR           Document 336       Filed 05/07/13    Page 7 of 11
559 U.S. at ___, 130 S. Ct. at 1204 (alteration in original). The defendant argued that this
language was misleading because it communicated that he had access to counsel only
before the interrogation and not during. Id. at 1205. The Supreme Court held that, when
considered in context with the additional warnings given, the warnings “reasonably
conveyed [the defendant’s] right to have an attorney present, not only at the outset of
interrogation, but at all times.” Id. at 1204-05. Unlike in Powell, Defendant does not
argue that TFO Furman’s warnings were misleading or restrictive and because the
Supreme Court did not address the sufficiency of an unqualified warning that defendant has
the right to counsel, Powell does not alter the court’s conclusion.
       When considering whether a general, unqualified warning of the right to an attorney
satisfies Miranda, the court is persuaded by the reasoning in Caldwell, Lamia and Warren.
TFO Furman informed Defendant that he had the right to an attorney after warning
Defendant that he had the right to remain silent and that anything Defendant said could be
used against him. TFO Furman also cautioned Defendant that he could end the interview
at any time if he wished. When viewing these warnings in their entirety, TFO Furman
communicated to Defendant that his right to an attorney began immediately and continued
throughout the interview, as did his right to remain silent and to end the interview. Thus,
the court finds that TFO Furman’s warnings reasonably conveyed Defendant’s Miranda
rights. Accordingly, the court shall overrule Defendant’s objections to Judge Scoles’s
finding that Defendant was adequately advised of his Miranda rights.3




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         The court notes that while the warnings, “[t]aken as a whole, . . . reasonably
convey[ed] the substance of the rights expressed in Miranda,” Warren, 642 F.3d at 187,
they are not as explicit as they could be. “[C]onsidering the resources that have been
expended to consider a claim that could have been preempted with minimal care and
effort,” id., the court encourages law enforcement officials to err on the side of
thoroughness when reciting a defendant’s Miranda rights.

                                             8


  Case 6:12-cr-02024-CJW-MAR          Document 336       Filed 05/07/13    Page 8 of 11
                                   B. Waiver of Rights
       1.     Defendant’s arguments
       Defendant next objects to Judge Scoles’s finding that Defendant voluntarily,
knowingly and intelligently waived his Miranda rights on September 5, 2012. In his
Objections, Defendant urges the court to find that his waiver was not knowing and
voluntary because he was under the influence of heroin at the time of the questioning, he
did not make an audible response acknowledging TFO Furman’s warnings and TFO
Furman’s partner had a conversation on the phone while TFO Furman recited the warnings
to Defendant.
       2.     Applicable law
       “There are ‘two distinct dimensions’ to the inquiry [of] whether a suspect’s waiver
of his Miranda rights was voluntary, knowing, and intelligent.” United States v. Vinton,
631 F.3d 476, 483 (8th Cir. 2011) (quoting Moran v. Burbine, 475 U.S. 412, 421 (1986)).
“First, the waiver ‘must have been voluntary in the sense that it was the product of a free
and deliberate choice rather than intimidation, coercion, or deception.’” Id. (quoting
Moran, 475 U.S. at 421); accord United States v. Phillips, 506 F.3d 685, 687 (8th Cir.
2007). “Second, the suspect must have waived his rights ‘with a full awareness of both
the nature of the right being abandoned and the consequences of the decision to abandon
it.’” Vinton, 631 F.3d at 483 (quoting Moran, 475 U.S. at 421); accord Phillips, 506 F.3d
at 687.
       “In order to determine whether a confession was voluntary, [the court] look[s] to
the ‘totality of the circumstances and must determine whether the individual’s will was
overborne.’” United States v. Gaddy, 532 F.3d 783, 788 (8th Cir. 2008) (quoting United
States v. Castro-Higuero, 473 F.3d 880, 886 (8th Cir. 2007)). “The two factors that must
be considered in applying the ‘overborne will’ doctrine are ‘the conduct of the law
enforcement officials and the capacity of the suspect to resist pressure to confess.’” United


                                             9


  Case 6:12-cr-02024-CJW-MAR           Document 336       Filed 05/07/13    Page 9 of 11
States v. Meirovitz, 918 F.2d 1376, 1379 (8th Cir. 1990) (quoting United States v.
Jorgensen, 871 F.2d 725, 729 (8th Cir. 1989)).          “Intoxication and fatigue do not
automatically render a confession involuntary . . . .” United States v. Casal, 915 F.2d
1225, 1229 (8th Cir. 1990). “Rather, [the defendant] must show his intoxication caused
his will to be overborne.” United States v. Howard, 532 F.3d 755, 763 (8th Cir. 2008)
(emphasis omitted).
        3.    Discussion
        After conducting a de novo review, the court agrees with Judge Scoles’s finding that
Defendant voluntarily, knowingly and intelligently waived his Miranda rights. In the
Report and Recommendation, Judge Scoles finds that Defendant “was questioned briefly
in a non-threatening manner” and that TFO Furman’s interrogation was “not of such a
nature or duration as to constitute ‘coercive activity,’ or to cause Defendant’s will to be
overborne.” Report and Recommendation at 10-11. The record reflects that Defendant
had previous experience with law enforcement and that TFO Furman questioned Defendant
after notifying him of his rights. Indeed, twice before beginning the interrogation, TFO
Furman reassured Defendant that he could stop talking and end the conversation at any
time.
        Regarding Defendant’s lack of audible response to TFO Furman’s warnings and to
the possible distraction of the partner’s phone conversation, TFO Furman credibly testified
that Defendant communicated nonverbal cues signaling that Defendant understood his
rights. Furthermore, TFO Furman’s recitation of the warnings can be clearly heard on the
audio recording and there is no indication that Defendant did not hear and understand the
warnings. TFO Furman also credibly testified that throughout the conversation, Defendant
maintained eye contact and appeared to understand the questions. In the Report and
Recommendation, Judge Scoles correctly notes that “[w]hile Defendant spoke slowly and
softly [throughout the interview], his answers were responsive to the questions.” Id. at 11;


                                             10


  Case 6:12-cr-02024-CJW-MAR          Document 336       Filed 05/07/13    Page 10 of 11
see United States v. Byrne, 83 F.3d 984, 989 (8th Cir. 1996) (holding that a defendant
voluntarily waived her rights, even though she was under the influence of methadone,
when she was “coherent, composed and cooperative, although somewhat subdued, during
the interrogation” and where there was no coercive police behavior).
       Furthermore, Defendant puts forth no evidence to show that his will was overborne.
Even if the court were to take judicial notice of the materials regarding the effects of
heroin Defendant provided, this general information regarding the effects that “can” occur
as a result of heroin use is insufficient to show that Defendant’s use of heroin on the
morning of September 5, 2012 caused Defendant to lose his capacity to resist answering
TFO Furman’s questions over the course of the seventeen-minute interview. For these
reasons and the reasons more fully stated in the Report and Recommendation, the court
finds that, based on the totality of the circumstances, Defendant’s will was not overborne.
Thus, the court finds that Defendant voluntarily, knowingly and intelligently waived his
Miranda rights.
                                  VI. CONCLUSION
       In light of the foregoing, IT IS HEREBY ORDERED:
       (1)    The Objections (docket no. 198) are OVERRULED;
       (2)    The Report and Recommendation (docket no. 188) is ADOPTED; and
       (3)    The Motion (docket no. 159) and Amended Motion (docket no. 167) are
              DENIED.
       DATED this 7th day of May, 2013.




                                            11


  Case 6:12-cr-02024-CJW-MAR         Document 336       Filed 05/07/13    Page 11 of 11
